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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                      Case No.: 05−60776−GMB
                                      Chapter: 13
                                      Judge: Gloria M. Burns

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Ellen M Camp
   41 Somers Ave.
   Egg Harbor Township, NJ 08234
Social Security No.:
   xxx−xx−0318
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Isabel C. Balboa is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: March 26, 2007                          Gloria M. Burns
                                               Judge, United States Bankruptcy Court
